                EXHIBIT 1




Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 1 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 2 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 3 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 4 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 5 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 6 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 7 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 8 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 9 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 10 of 11
Case 4:08-cv-00023-FL Document 1-2 Filed 02/11/08 Page 11 of 11
